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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 MAGNOLIA PEARL, LLC; AND                               §
 MAGNOLIA PEARL TEXAS LLC,                              §
              Plaintiffs,                               §
 V.                                                     §
                                                        §         A-23-CV-1315-DII
 APT DESIGNS INC. D/B/A/ THE                            §
 PAPER LACE,                                            §
                 Defendant.                             §

                            REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         Before the court is Defendant’s Motion to Dismiss Petition for Declaratory Judgment

(Dkt. 7) and all related briefing.1 After reviewing the pleadings, the relevant case law, as well as

the entire case file, the undersigned submits the follow Report and Recommendation.

  I.    BACKGROUND

        Magnolia Pearl designs and makes high-end clothes and accessories. Dkt. 1 (Compl.) ¶ 7.

It sells its clothes and accessories through independent retailers, a large retail operation, its own

retail locations, and its website. Id. Magnolia Pearl requires boutiques that carry its products to

agree “not to market or sell copies or imitations of Magnolia Pearl merchandise of the work of any

design that mimics or cheapens the image of Magnolia Pearl.” Compl. ¶ 8. On September 11, 2023,

Magnolia Pearl sent an acknowledgement to boutiques that carry its products requesting the

boutiques to acknowledge Magnolia Pearl’s policy to “only authorize and sell products to retailers

who do not carry brands that dilute the Magnolia Pearl brand including . . . The Paper Lace.”


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      The motion was referred by United States District Judge Robert Pitman to the undersigned for a Report and
Recommendation as to the merits pursuant to 28 U.S.C. § 636(b), Rule 72 of the Federal Rules of Civil Procedure,
and Rule 1 of Appendix C of the Local Rules of the United States District Court for the Western District of Texas.
See Text Order dated March 27, 2024.

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Compl. ¶ 9, Exh. 2. This caused at least seven retailers to stop doing business with Defendant APT

d/b/a The Paper Lace, which in turn cost APT to lose $29,218.32 in revenue. Compl. Exh. 3

(Demand Letter).

       On October 16, 2023, through counsel, APT sent a demand letter to Magnolia Pearl seeking

$29,218.32 damages for APT’s lost revenue, continuing attorney’s fees, and a retraction of the

September 11, 2023 acknowledgment. Compl. ¶ 40, Demand Letter. Through the demand letter,

APT asserted Magnolia Pearl’s September 11, 2023 e-mail correspondence to APT’s customers,

as well as the Acknowledgment of Magnolia Pearl Wholesale License Form, constitutes

defamation or tortious interference. Compl. ¶ 40, Demand Letter. In consideration for timely

payment and other conditions, APT stated it would release Magnolia Pearl from liability for

defamation and tortious interference with contracts. Compl. Exh. 3. If no payment was received,

APT threatened to file suit in Georgia for defamation, tortious interference with contract, “and

APT’s continuing attorney’s fees.” Compl. ¶¶ 40-42, Demand Letter.

       On October 30, 2023, under diversity jurisdiction, Magnolia Pearl filed this declaratory

judgment action seeking a declaration that it had not defamed APT and it had not tortiously

interfered with APT’s business relationships. Compl. APT moves to dismiss this case. APT first

argues the court lacks diversity jurisdiction because the amount in controversy is not met. Second,

APT argues Magnolia Pearl’s claims are an improper preemptive strike that misuse the federal

Declaratory Judgment Act and fail to state a claim for which relief may be granted. Finally, APT

argues Magnolia Pearl fails to establish that the court has personal jurisdiction over APT and that

Texas is the proper forum for this suit.

       The court will first address the subject matter jurisdiction issue. If this court finds it has

subject matter jurisdiction, it will then address APT’s other arguments.



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 II.    SUBJECT MATTER JURISDICTION

        “The objection that a federal court lacks subject-matter jurisdiction, see FED. R. CIV. P.

12(b)(1), may be raised by a party, or by a court on its own initiative, at any stage in the litigation,

even after trial and the entry of judgment.” Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006).

Whenever it appears by suggestion of the parties or otherwise that the court lacks jurisdiction of

the subject matter, the court shall dismiss the action. FED. R. CIV. P. 12(h)(3). “Diversity

jurisdiction under 28 U.S.C. § 1332 only exists where the parties are citizens of different states

and the amount in controversy exceeds $ 75,000.” White v. FCI USA, Inc., 319 F.3d 672, 674-675

(5th Cir. 2003). If the asserted basis of federal jurisdiction is the diversity of the parties, the party

seeking to invoke federal diversity jurisdiction bears the burden of establishing both that the parties

are diverse and that the amount in controversy exceeds $75,000. Manguno v. Prudential Prop. &

Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002).

        To determine the amount in controversy, courts generally accept a plaintiff’s good faith

claim. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288–89 (1938); In re 1994

Exxon Chem. Fire, 558 F.3d 378, 387 (5th Cir. 2009). “But if, from the face of the pleadings, it is

apparent, to a legal certainty, that the plaintiff cannot recover the amount claimed or if, from the

proofs, the court is satisfied to a like certainty that the plaintiff never was entitled to recover that

amount, and that his claim was therefore colorable for the purpose of conferring jurisdiction, the

suit will be dismissed.” St. Paul Mercury, 303 U.S. at 289; see also St. Paul Reinsurance Co. v.

Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998). Congress enacted the amount in controversy

requirement to ensure that “diversity jurisdiction does not flood the federal courts with minor

disputes.” Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 552 (2005).



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       The parties’ complete diversity is apparent and not disputed. Instead, the parties dispute

whether the amount in controversy requirement is met. APT argues the damages in its demand

letter were well below the statutory threshold at $29,218.32. Magnolia Pearl argues that APT’s

request for attorney’s fees raises the amount in controversy to more than $75,000.

       Where a statute provides for attorney’s fees, those fees may be included as part of the

amount in controversy requirement. Manguno, 276 F.3d at 723; Foret v. S. Farm Bureau Life Ins.

Co., 918 F.2d 534, 537 (5th Cir. 1990) (citing Graham v. Henegar, 640 F.2d 732, 735 (5th Cir.

1981); Premier Indus. Corp. v. Texas Indus. Fastener Corp., 450 F.2d 444, 447 (5th Cir. 1971);

14A C. Wright & A. Miller, Federal Practice & Procedure § 3712, at 176 (2d ed. 1985) (“The law

is now quite settled that attorney's fees are a part of the matter in controversy when they are

provided for by contract or by state statute.”)).

       In its demand letter, APT asserted that if APT filed suit it would seek “APT’s continuing

attorney’s fees per O.C.G.A § 13-6-11.” Compl. Demand Letter at 4. That statute states:

       The expenses of litigation generally shall not be allowed as a part of the damages;
       but where the plaintiff has specially pleaded and has made prayer therefor and
       where the defendant has acted in bad faith, has been stubbornly litigious, or has
       caused the plaintiff unnecessary trouble and expense, the jury may allow them.

O.C.G.A § 13-6-11. District courts in Georgia apply a Rule 12(b)(6) analysis to determine whether

a claim for attorney’s fees under § 13-6-11 has been sufficiently pleaded if those fees are required

to reach the amount in controversy requirement. See Singhose v. GoLabs, Inc., No. 1:23-CV-

00199-SDG, 2024 WL 2406787, at *2 (N.D. Ga. Mar. 22, 2024).

       In the Complaint, Magnolia Pearl relies on the demand letter to allege these fees are

actually at issue in this case. Compl. ¶¶ 18, 42. But nowhere in its Complaint does Magnolia Pearl

allege it “has acted in bad faith, has been stubbornly litigious, or has caused [APT] unnecessary

trouble and expense.” See O.C.G.A § 13-6-11. Additionally, despite asserting that it would seek

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fees under this statute, nowhere in APT’s demand letter does APT describe facts that would entitle

it such fees. See Compl. Demand Letter. Moreover, there is no claim concerning APT’s entitlement

to fees under O.C.G.A § 13-6-11 asserted in the Complaint. Accordingly, the court finds that

Magnolia Pearl’s assertion that APT’s attorney’s fees are at issue in this case is not well pled and

cannot be used to reach the amount in controversy requirement.

       Alternatively, Magnolia Pearl argues the value of the litigation to Magnolia Pearl is greater

than $75,000. Magnolia Pearl argues it “alleged that retraction of its statements and the

requirement that its customers adhere to not ‘market or sell copies or imitations of Magnolia Pearl

merchandise of the work of any design that mimics or cheapens the image of Magnolia Pearl’

would also result in damages far exceeding $75,000.” See Compl. ¶ 43. Magnolia Pearl argues it

filed this suit to protect its business interests and its damages would exceed $75,000 due to the

devaluing of its brand and injury to its customer relationships.

       However, Magnolia Pearl’s pleaded allegation as to the value of the demanded retraction

is entirely conclusory. See Compl. ¶ 43. Most importantly, although APT sought a retraction in its

demand letter, Magnolia Pearl only seeks a declaratory judgment that it did not defame APT and

did not tortiously interfere with APT’s contractual relationships. Compl. ¶¶ 44-56. The only

pleading of damages related to the claims asserted by Magnolia Pearl is APT’s lost revenue of

$29,218.32. Further, this suit is limited to Magnolia Pearl’s actions with respect to APT. It will not

determine whether Magnolia Pearl can continue its policies with respect to other brands.

       Accordingly, Magnolia Pearl has not shown that its declaratory judgment action involves

more than $75,000 in controversy. Because the court lacks subject matter jurisdiction, it will not

reach APT’s additional arguments.




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III.   RECOMMENDATION

       For these reasons, the undersigned RECOMMENDS that Defendant’s Motion to Dismiss

Petition for Declaratory Judgment (Dkt. 7) be GRANTED and this case be dismissed without

prejudice for lack of subject matter jurisdiction.

IV.    OBJECTIONS

        The parties may file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections are

being made. The District Court need not consider frivolous, conclusive, or general objections. See

Battles v. United States Parole Comm’n, 834 F.2d 419, 421 (5th Cir. 1987).

        A party’s failure to file written objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140, 150-53 (1985);

Douglass v. United Services Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).




       SIGNED July 25, 2024,
                                         _______________________________
                                         MARK LANE
                                         UNITED STATES MAGISTRATE JUDGE




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